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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

ROTHSCHILD BROADCAST                §
DISTRIBUTION SYSTEMS, LLC           §
     Plaintiff,                     §
                                    §
vs.                                 §               Case No: 2:16-cv-1263-RWS
                                    §
LINKEDIN CORPORATION                §
                                    §
      Defendant.                    §
___________________________________ §

   UNOPPOSED MOTION TO DISMISS DEFENDANT LINKEDIN CORPORATION
                         WITH PREJUDICE

       Under Federal Rule of Civil Procedure 41(a), Plaintiff Rothschild Broadcast Distribution
Systems, LLC moves the Court to dismiss all of its claims against Defendant LinkedIn
Corporation with prejudice, and with each party to bear its own attorneys’ fees and costs and
request that the Court enter the proposed order of dismissal submitted herewith.
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Dated: April 26, 2017                       Respectfully Submitted,
                                            /s/ Jay Johnson
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                                            ATTORNEYS FOR PLAINTIFF


                               CERTIFICATE OF SERVICE

The undersigned certifies that all counsel of record who have consented to electronic service are
being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-
5(a)(3) on April 26, 2017.

                                            /s/ Jay Johnson
                                            Jay Johnson


                            CERTIFICATE OF CONFERENCE

The undersigned counsel for Plaintiff certifies that he met and conferred with counsel for
Defendant on April 26, 2017 and that Defendant does not oppose this motion.

                                            /s/ Jay Johnson
                                            Jay Johnson
